USCA4 Appeal:
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                                                                 FILED: August 22, 2019


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                         No. 19-1464 (L)
                                      (6:19-cv-00013-NKM)
                                      ___________________

         WILLIAM LEE GRANT, II

                     Plaintiff - Appellant

         v.

         GREGORY K. HARRIS, AUSA; JOINT CHIEFS OF STAFF

                     Defendants - Appellees

                                      ___________________

                                           No. 19-1465
                                      (6:19-cv-00016-NKM)
                                      ___________________

         WILLIAM LEE GRANT, II

                     Plaintiff - Appellant

         v.

         GREGORY K. HARRIS, AUSA; JOINT CHIEFS OF STAFF

                     Defendants - Appellees
USCA4 Appeal:
        Case19-1464     Doc: 7-2 Document
              6:19-cv-00016-NKM      Filed: 10
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                                            No. 19-1466
                                       (6:19-cv-00017-NKM)
                                       ___________________

         WILLIAM LEE GRANT, II

                      Plaintiff - Appellant

         v.

         GREGORY K. HARRIS, AUSA; JOINT CHIEFS OF STAFF

                      Defendants - Appellees

                                       ___________________

                                         JUDGMENT
                                       ___________________

               In accordance with the decision of this court, this appeal is dismissed.

               This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                                /s/ PATRICIA S. CONNOR, CLERK
